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8
                                    UNITED STATES DISTRICT COURT
9
                                   CENTRAL DISTRICT OF CALIFORNIA
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      NERIZA LOPEZ,                 )                  Case No. CV 20-6087 FMO (RAOx)
12                                  )
                     Plaintiff,     )
13                                  )
               v.                   )                  ORDER DISMISSING ACTION WITHOUT
14                                  )                  PREJUDICE
                                    )
15    ADVANCE AMERICA, CASH ADVANCE )
      CENTERS OF CALIFORNIA, LLC,   )
16                                  )
                     Defendant.     )
17                                  )
18           Having been advised by counsel that the above-entitled action has been settled, IT IS
19    ORDERED that the entry of default is vacated and the above-captioned action is hereby
20    dismissed without costs and without prejudice to the right, upon good cause shown within
21    September 28, 2020, to re-open the action if settlement is not consummated. The court retains
22    full jurisdiction over this action and this Order shall not prejudice any party to this action.
23    Dated this 28th day of August, 2020.
24                                                                            /s/
                                                                     Fernando M. Olguin
25                                                               United States District Judge
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